Case 9:18-cv-80176-BB Document 550-42 Entered on FLSD Docket 06/01/2020 Page 1 of 10
Case 9:18-cv-80176-BB Document 550-42 Entered on FLSD Docket 06/01/2020 Page 2 of 10
Case 9:18-cv-80176-BB Document 550-42 Entered on FLSD Docket 06/01/2020 Page 3 of 10
Case 9:18-cv-80176-BB Document 550-42 Entered on FLSD Docket 06/01/2020 Page 4 of 10
Case 9:18-cv-80176-BB Document 550-42 Entered on FLSD Docket 06/01/2020 Page 5 of 10
Case 9:18-cv-80176-BB Document 550-42 Entered on FLSD Docket 06/01/2020 Page 6 of 10
Case 9:18-cv-80176-BB Document 550-42 Entered on FLSD Docket 06/01/2020 Page 7 of 10
Case 9:18-cv-80176-BB Document 550-42 Entered on FLSD Docket 06/01/2020 Page 8 of 10
Case 9:18-cv-80176-BB Document 550-42 Entered on FLSD Docket 06/01/2020 Page 9 of 10
Case 9:18-cv-80176-BB Document 550-42 Entered on FLSD Docket 06/01/2020 Page 10 of
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